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11                               IN THE UNITED STATES DISTRICT COURT
12                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
13                                             OAKLAND DIVISION
14   DKR CONSULTING LLC,                                Case No. 4:18-cv-05383-JSW
15                                Plaintiff,            DEFENDANT PINTEREST, INC.’S NOTICE
                                                        OF MOTION AND MOTION TO DISMISS;
16         v.                                           MEMORANDUM OF POINTS AND
17                                                      AUTHORITIES IN SUPPORT THEREOF
     PINTEREST, INC.,
18                                                      Date:    February 8, 2019
                                  Defendant.
                                                        Time:    9:00 a.m.
19                                                      Ctrm:    5, 2nd Floor
                                                        Judge:   Honorable Jeffrey S. White
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                DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS; MEMORANDUM OF POINTS
                      AND AUTHORITIES IN SUPPORT THEREOF / CASE NO. 4:18-CV-05383-JSW
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 1                           NOTICE OF MOTION AND MOTION TO DISMISS
 2          PLEASE TAKE NOTICE that on February 8, 2019, at 9:00 a.m., or as soon thereafter as the
 3   matter may be heard, in the United States District Court for the Northern District of California, Oakland

 4   Courthouse, located at 1301 Clay Street, Oakland, CA, in Courtroom 5 before the Honorable Jeffrey S.

 5   White, Defendant Pinterest, Inc. (“Pinterest”) will, and hereby does, move the Court pursuant to Federal

 6   Rule of Civil Procedure 12(b)(6) for an order dismissing the Complaint for failure to state a claim.

 7          Pinterest’s motion is based on this Notice of Motion and Motion, the accompanying

 8   Memorandum of Points and Authorities, the concurrently filed Declaration of Ryan M. Kent and all

 9   exhibits thereto, all documents in the Court’s file, any matters of which this Court may take judicial

10   notice, and on such other written and oral argument as may be presented to the Court.

11
      Dated: December 13, 2018                         DURIE TANGRI LLP
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                                                 By:                      /s/ Ryan M. Kent
14                                                                        RYAN M. KENT

15                                                     Attorneys for Defendant
                                                       PINTEREST, INC.
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 1                           MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.     INTRODUCTION
 3          Every complaint must state a claim that “show[s] that the pleader is entitled to relief.” Fed. R.

 4   Civ. P. 8. In deciding whether a complaint has met this threshold, a court must accept well-pled factual

 5   allegations as true. A court, however, need not credit inferences that are not warranted from the factual

 6   allegations pled in the complaint. For example, a court is not required to accept a complaint’s assertion

 7   that the sky is green when an incorporated photograph contradicts it.

 8          The Complaint served by Plaintiff DKR Consulting LLC (“DKR”) hinges on such unwarranted

 9   inferences. DKR asserts that Pinterest induces infringement of or contributorily infringes claims of U.S.

10   Patent No. 9,679,298 (the “’298 patent”) by providing software to Pinterest’s users. Each of these claims

11   requires a “portable web widget” to be displayed “in the web browser.” In an attempt to meet this

12   limitation, DKR points to twin screenshots of Pinterest’s native mobile application and from these factual

13   allegations asserts that the accused functionality is a “web widget” that operates in a web browser.

14   Nothing warrants this inference: factual allegations about Pinterest’s mobile application do not show

15   operation in a web browser, and are not sufficient to state a claim.

16          Moreover, DKR has not pled facts plausibly showing that the Pinterest software includes a

17   “portable web widget,” which the patent defines as “portable software that can be installed and executed

18   within a hypertext-markup-language web page by an end user that does not require additional

19   compilation.” ’298 patent at col. 1, ll. 59–62. DKR has identified a former feature in Pinterest called

20   “Buyable Pins” as these web widgets. But it provides no factual allegation that show these pins as being
21   installed and executed within a hypertext-markup-language web page by an end user (because they are
22   not). Therefore, for these reasons, and the reasons set forth below, DKR’s Complaint should be
23   dismissed.

24   II.    ALLEGATIONS IN THE COMPLAINT
25          DKR alleges that it is the owner by assignment of the ’298 patent, titled “System and method for

26   distributing multimedia content.” See Compl., ECF No. 1 (“Complaint”) ¶¶ 1, 15. The ’298 patent is

27   directed to a “portable web widget for distribution of multimedia content over a computer

28   communications network” that is capable of “enabl[ing] content owners to more effectively use viral
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 1   distribution of multimedia content and to exploit social media marketing trends to engage in purchase

 2   transactions and other forms of electronic commerce directly with current and prospective customers

 3   from web widgets over the Internet and over the rapidly growing number of mobile networks and

 4   associated mobile devices.” Decl. Ryan M. Kent in Supp. Mot. (“Kent Decl.”) ¶ 2, Ex. A (“’298

 5   patent”), at Abstract; id. at col. 2, ll. 6–15.

 6           The ’298 patent recites 46 system claims, of which two—claims 1 and 24—are independent.

 7   DKR alleges that claim 1 is “exemplary,” and only analyzes the limitations of this claim in its claim

 8   chart. See Compl. ¶ 16; see also Compl., Ex. A (“Claim Chart”), ECF No. 1-1. Claim 1 recites, in full:

 9                   1. A system comprising:

10                   [a] a display device configured for displaying a web browser;
11                   [b] a memory configured for storing data;
12                   [c] a processor communicatively coupled to the memory and the display
13                   device, the processor configured for displaying, in the web browser, a
                     portable web widget, the web widget comprising:
14
                     [d] a content retrieval component communicatively coupled to an application
15                   server over a computer communications network, the content retrieval
                     component executed by the processor to retrieve one or more multimedia
16                   display files and metadata into an embedded electronic commerce store in
                     the web widget, the multimedia display files and the metadata retrieved from
17
                     a storage resource communicatively coupled to the application server and
18                   stored in the memory after the web widget enters an active operational mode,
                     the web widget entering the active operational mode after a user clicks on
19                   the web widget in an inactive operational mode in the web browser;
20                   [e] a content preview component executed by the processor for streamed
                     execution of a portion of one or more multimedia content files from a
21
                     multimedia content distribution system executing on the application server,
22                   the streamed execution performed in the web browser based on a selection
                     request made on the web widget in the active operational mode for streamed
23                   execution of at least one of the one or more multimedia content files; and

24                   [f] a transaction processing component executed by the processor to
                     execute and complete a commercial transaction in the embedded electronic
25                   commerce store pertaining to the one or more multimedia content files;
26
                     [g] wherein the one or more multimedia display files and metadata are
27                   associated with each of the one or more multimedia content files;

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 1                   [h] wherein the multimedia display files, the multimedia content files and
                     the metadata are created under control of a content owner; and
 2
                     [i] wherein the multimedia content files are associated with the web widget
 3                   by at least one of the content owner and a content distributor using the
 4                   multimedia content distribution system.

 5   ’298 patent, col. 18, l. 39–col. 19, l. 14 (emphasis added). Claim 24 also includes the limitation “a

 6   processor communicatively coupled to the memory and the display device, the processor configured for

 7   displaying, in the web browser, a portable web widget . . . .” Id. at col. 20, ll. 28–31 (emphasis added).

 8           DKR alleges in its Complaint that “[t]he web widget presently known to Plaintiff is Defendant’s

 9   ‘Buyable Pin’ widget,” and does not specify any other allegedly infringing software. Compl. ¶ 18. In its

10   Claim Chart, DKR includes several images of a smartphone running the Pinterest native mobile

11   application, and includes text purporting to map features of Pinterest’s software onto the limitations of

12   claim 1. See generally Claim Chart. The text accompanying limitation [c] consists of the following

13   passage:

14                   A portable web widgets may be displayed in the web browser. ABOVE, a
                     web browser displaying Pinterest software. BELOW a web widget for
15                   retrieval of content:
16   Id. at 2.
17           Among the text accompanying limitation [f] is the following passage:
18                   The transaction processing component when executed by the processor
                     allows for execution and completion of a transaction (buy). The transaction
19                   is completed within the web widget, which includes an embedded electronic
20                   commerce store. The embedded electronic commerce store relates to the
                     multi media content files. “Here’s how it will work: When you search and
21                   pin items, anything with a blue price tag will be called a ‘Buyable pin.’ You
                     can tap and buy it with either Apple Pay or a credit card (which the app can
22                   then store for the future purchases), or you can add it to a wish list. Then,
                     you can keep pinning as usual. Pinterest isn’t taking a cut of the transactions
23                   — at least for now — so what you buy in its app is the same price as what
24                   you'd get from the retailer.” (See: pinterest buy it button_ purchase items on
                     pinterest)
25
     Id. at 6 (emphases added).
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 1   III.   DISCUSSION
 2          A.      Legal Standards
 3          A motion to dismiss for failure to state a claim under Rule 12(b)(6) tests the legal sufficiency of a

 4   complaint. Navarro v. Block, 250 F.3d 729, 732 (9th Cir. 2001). In considering whether the complaint is

 5   sufficient to state a claim, the court must accept as true all of the factual allegations contained in the

 6   complaint. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). However, the court need not accept as true

 7   “allegations that contradict matters properly subject to judicial notice or by exhibit” or “allegations that

 8   are merely conclusory, unwarranted deductions of fact, or unreasonable inferences.” In re Gilead Scis.

 9   Sec. Litig., 536 F.3d 1049, 1055 (9th Cir. 2008); see also Bradley v. Chiron Corp., 136 F.3d 1317, 1322

10   (Fed. Cir. 1998) (“Conclusory allegations of law and unwarranted inferences of fact do not suffice to

11   support a claim.”).

12          While a complaint need not allege detailed factual allegations, it “must contain sufficient factual

13   matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Iqbal, 556 U.S. at 678

14   (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim is facially plausible when it

15   “allows the court to draw the reasonable inference that the defendant is liable for the misconduct

16   alleged.” Id. at 678. “Determining whether a complaint states a plausible claim for relief . . . [is] a

17   context-specific task that requires the reviewing court to draw on its judicial experience and common

18   sense.” Id. at 679. If the allegations are insufficient to state a claim, a court should not grant leave to

19   amend if amendment would be futile. See Reddy v. Litton Indus., Inc., 912 F.2d 291, 296 (9th Cir. 1990);

20   Cook, Perkiss & Liehe, Inc. v. N. Cal. Collection Serv., Inc., 911 F.2d 242, 246–47 (9th Cir. 1990).
21          Although courts as a general rule may not consider materials beyond the pleadings in ruling on a
22   motion to dismiss under Rule 12(b)(6), “[a] court may, however, consider certain materials—documents
23   attached to the complaint, documents incorporated by reference in the complaint, or matters of judicial

24   notice—without converting the motion to dismiss into a motion for summary judgment.” U.S. v. Ritchie,

25   342 F.3d 903, 907–08 (9th Cir. 2003) (citations omitted). Thus, “[e]ven if a document is not attached to

26   a complaint, it may be incorporated by reference into a complaint if the plaintiff refers extensively to the

27   document or the document forms the basis of the plaintiff’s claim.” Id. at 908 (citations omitted). “The

28   defendant may offer such a document, and the district court may treat such a document as part of the
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 1   complaint, and thus may assume that its contents are true for purposes of a motion to dismiss under Rule

 2   12(b)(6).” Id.

 3          B.        Webpages Referenced in DKR’s Complaint Are Properly Considered in Resolving
 4                    Pinterest’s Motion to Dismiss

 5          When a plaintiff “incorporate[s] screenshots of the Defendants’ webpages into” its pleading,

 6   those webpages are incorporated by reference into the pleading and their content may be considered by

 7   the court when ruling on a motion to dismiss. Castagnola v. Hewlett-Packard Co., No. C 11-05772

 8   JSW, 2012 WL 2159385, at *7 (N.D. Cal. June 13, 2012).

 9          DKR’s Complaint includes references to multiple webpages that this Court can consider when

10   ruling on this motion. Id. By way of example, DKR’s Complaint identifies Pinterest’s “Buyable Pins”

11   as the sole accused “web widget” within the meaning of the ’298 patent. Compl. ¶ 18. In support of its

12   allegation, DKR includes in its Claim Chart screenshots depicting a smartphone running the Pinterest

13   native mobile application. See generally Claim Chart. These screenshots correspond to a promotional

14   video found at the following URL: https://business.pinterest.com/en/blog/introducing-promoted-video.

15   Compare id. at 2; with Kent Decl. ¶ 3. The Court can consider the entire contents of that webpage in

16   deciding this motion to dismiss.

17          C.        DKR Has Not Stated a Claim for Direct Infringement

18          In order to establish a prima facie case of indirect infringement, DKR must show that Pinterest

19   induced or contributed to another’s direct infringement. See 35 U.S.C. §§ 271(b), (c). DKR alleges in its

20   Complaint that “[c]onsumers are the direct infringers of the claimed system,” and asserts that they

21   infringe by using Pinterest’s software. Compl. ¶ 20. However, as explained below, DKR has not

22   plausibly alleged that the use of Pinterest’s software meets at least two claim elements.

23                    1.    The Complaint does not allege facts sufficient to show the “web browser”
24                          limitation.

25          DKR has not alleged facts sufficient to state a claim that the display devices used by “consumers”

26   are “configured for displaying, in the web browser, a portable web widget” when DKR refers to

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 1   Pinterest’s “Buyable Pins” or “tiles.” 1 ’298 patent, col. 18, ll. 42–44 (emphasis added). The only factual
 2   allegations that DKR includes in its pleading regarding this limitation are found in the Claim Chart

 3   attached to the Complaint. Those allegations come in the form of two images pulled from a marketing

 4   video of Pinterest’s native mobile application as shown below:

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16   Claim Chart at 2. From these images, DKR infers that: “A portable web widgets [sic] may be displayed
17   in the web browser. ABOVE, a web browser displaying Pinterest software. BELOW a web widget for
18   retrieval of content.” Id. at 2.
19           But DKR’s inference from these images is unwarranted. The “Buyable Pins” depicted in each of

20   the images is not shown as being displayed in a web browser. They are shown as being displayed in
21   Pinterest’s native mobile application. Id.; see also Introducing Promoted Video, PINTEREST BUSINESS
22   (Aug. 17, 2016), https://business.pinterest.com/en/blog/introducing-promoted-video; Kent Decl. ¶ 3

23   (referring, for example, to a “native video player” and showing interaction with a mobile application).

24   Indeed, on page 6, DKR’s Claim Chart twice references Pinterest’s “app,” a shorthand for “mobile

25   application.”

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      DKR also has failed to plausibly allege that the “Buyable Pins” or “tiles” are “web widgets” within the
28   meaning of the ’298 patent as discussed below in Section III.C.2.
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 1          Neither unwarranted inferences nor conclusory statements are sufficient to state a claim. See In

 2   re Gilead Scis. Sec. Litig., 536 F.3d at 1055 (“Nor is the court required to accept as true allegations that

 3   are merely conclusory, unwarranted deductions of fact, or unreasonable inferences.”). Indeed, no court

 4   must “indulge unwarranted inferences in order to save a complaint from dismissal.” Metzler Inv. GMBH

 5   v. Corinthian Colleges, Inc., 540 F.3d 1049, 1064–65 (9th Cir. 2008) (affirming dismissal where

 6   allegation was “an inference that Metzler believes is warranted from the facts that are alleged” but that

 7   “Corinthian persuasively explains why this is not the case”). As a result, DKR has failed to sufficiently

 8   plead that Pinterest provides a web widget that is displayed “in the web browser.” 2
 9                  2.      The Complaint does not allege facts sufficient to show the “web widget”
10                          limitation.

11          DKR’s Complaint also fails to contain any factual allegations sufficient to demonstrate that

12   Pinterest’s “Buyable Pins” or “tiles” meet the ’298 patent’s definition of “web widget.” The patent’s

13   specification defines “[a] web widget [a]s portable software that can be installed and executed within a

14   hypertext-markup-language web page by an end user that does not require additional compilation.”

15   ’298 patent, col. 1, ll. 59–62 (emphasis added). Yet DKR’s pleading contains no allegation that would

16   show either the “Buyable Pins” or “tiles” to be installed or executed within a HTML web page by a user.

17   This isn’t an accidental omission by DKR. The “Buyable Pins” and “tiles” simply are not “web widgets”

18   as defined by the patent.

19          Moreover, DKR has not plausibly alleged that Pinterest’s “Buyable Pins” or “tiles” meet all of the

20   claim’s requirements for the “web widget.” By way of example, claim 1 requires a “web widget” that

21   “compris[es]” a “transaction processing component . . . to execute and complete a commercial

22   transaction in the embedded electronic commerce store.” DKR alleges that this element is met because:

23          The transaction is completed within the web widget, which includes an embedded
            electronic commerce store. The embedded electronic commerce store relates to the multi
24          media content files. “Here’s how it will work: When you search and pin items, anything
            with a blue price tag will be called a “Buyable pin.” You can tap and buy it with either
25
            Apple Pay or a credit card (which the app can then store for the future purchases), or you
26          can add it to a wish list. Then, you can keep pinning as usual. Pinterest isn’t taking a cut
     2
27     To the extent DKR argues that it should be given an opportunity to amend its pleading in order to allege
     that users can access a “web widget” through a web browser, DKR does not have a Rule 11 basis to do so
28   at least for the reasons set forth in Section III.C.2.
                                                            7
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 1          of the transactions — at least for now — so what you buy in its app is the same price as
            what you’d get from the retailer.”
 2

 3   Claim Chart at 6. Apart from the conclusory assertion that “[t]ransaction is completed within the web

 4   widget,” none of DKR’s factual allegations place the “transaction processing component” as part of

 5   Pinterest’s “Buyable Pins” or “tiles.” To the contrary, DKR’s own allegations indicate that some

 6   component other than the “Buyable Pin” or “tile” includes the alleged “transaction processing

 7   component.” 3 Id. (referring to processing via Apple Pay or credit card). DKR therefore fails to state a
 8   claim of infringement for this independent reason.

 9          D.      DKR Has Not Stated a Claim for Inducement or Contributory Infringement

10          DKR has not pled facts sufficient to show that Pinterest either induces infringement under 35

11   U.S.C. § 271(b) or contributes to infringement under § 271(c). Not only has DKR failed to allege that

12   consumers directly infringe one or more claims of the ’298 patent when they use Pinterest’s software—a

13   showing that is required in order to sustain a claim of inducement or contributory infringement—but it

14   also has failed allege facts that, if true, would show Pinterest had the requisite knowledge to violate these

15   statutory provisions.

16          Section 271(b) provides that “[w]hoever actively induces infringement of a patent shall be liable

17   as an infringer.” 35 U.S.C. § 271(b). In order to prove inducement, a patentee must show that a

18   defendant had “knowledge that the induced acts constitute patent infringement.” Global-Tech

19   Appliances, Inc. v. SEB S.A., 563 U.S. 754, 766 (2011). Thus, “[f]or an allegation of induced

20   infringement to survive a motion to dismiss, a complaint must plead facts plausibly showing that the

21   accused infringer ‘specifically intended [another party] to infringe [the patent] and knew that the [other

22   party]’s acts constituted infringement.’” Lifetime Indus., Inc. v. Trim-Lok, Inc., 869 F.3d 1372, 1379

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     3
      On the Pinterest website (https://newsroom.pinterest.com/en/post/coming-soon-buyable-pins), Pinterest
25
     explains that the transaction is completed outside of the accused web widget: “The fewer people who
26   have access your credit card information, the better—and that includes us. That’s why we won’t store
     your credit card info ourselves. Instead, we’re working with payment processors who’ve been protecting
27   people’s information for years. And when you pay with Apple Pay, it uses a device specific account
     number instead of your actual credit card number, so neither your device nor Apple Pay will send your
28   actual card number to the seller.”
                                                            8
              DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS; MEMORANDUM OF POINTS
                    AND AUTHORITIES IN SUPPORT THEREOF / CASE NO. 4:18-CV-05383-JSW
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 1   (Fed. Cir. 2017) (emphasis added) (alterations in original) (quoting In re Bill of Lading Transmission &

 2   Processing Sys. Patent Litig., 681 F.3d 1323, 1339 (Fed. Cir. 2012)).

 3          In support of its assertion that Pinterest had the requisite level of knowledge, DKR points to a

 4   non-disclosure agreement that the parties purportedly entered into “to discuss the possibility of entering

 5   into a patent licensing agreement for the ’298 Patent.” Compl. ¶ 26. While allegations that the parties

 6   entered into a non-disclosure agreement might plausibly show that Pinterest had knowledge of the ’298

 7   patent, DKR cannot infer specific intent to induce infringement or knowledge of infringement from

 8   mere knowledge of the patent. See Superior Indus., LLC v. Thor Global Enters. Ltd., 700 F.3d 1287,

 9   1296 (Fed. Cir. 2012) (affirming the dismissal of inducement claim even though the complaint pled
10   knowledge of the patent and knowledge of plaintiff’s claim of infringement because plaintiff did “not
11   allege any facts to support a reasonable inference that Thor specifically intended to induce infringement
12   of the ’231 Patent or that it knew it had induced acts that constitute infringement.”); see also Commil
13   USA, LLC v. Cisco Sys., Inc., __ U.S. __, 135 S. Ct. 1920, 1926 (2015) (“[L]iability for induced
14   infringement can only attach if the defendant knew of the patent and knew as well that the induced acts
15   constitute patent infringement.”) (internal quotation omitted, emphasis added). Thus, DKR has not stated
16   a claim for inducement.
17          DKR’s allegations concerning contributory infringement likewise fall short. In order to prove
18   contributory infringement, DKR must show that the accused Pinterest software has “no substantial non-
19   infringing uses,” and is known by Pinterest “to be especially made or especially adapted for use in an

20   infringement of such patent.” 35 U.S.C. § 271(c). In support of its assertion that Pinterest contributes to
21   its customers’ direct infringement by providing certain unspecified “components,” DKR alleges that
22   “Defendant’s knowledge that components contributed by Defendant were especially made or especially
23   adapted for use in an infringing manner is evidenced by the NDA entered between by Mr. Robb and
24   Defendant to discuss the possibility of entering into a patent licensing agreement for the ’298 Patent.”
25   Compl. ¶ 33. But, as explained above, an allegation that Pinterest had knowledge of the patent does not

26   mean that Pinterest knew that the accused components infringe much less that these unspecified

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                                                           9
              DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS; MEMORANDUM OF POINTS
                    AND AUTHORITIES IN SUPPORT THEREOF / CASE NO. 4:18-CV-05383-JSW
               Case 4:18-cv-05383-JSW Document 26 Filed 12/13/18 Page 15 of 16



 1   components “were especially made or especially adapted for use in an infringing manner.” 4
 2   IV.      CONCLUSION
 3            For the foregoing reasons, Pinterest requests that the Court dismiss DKR’s Complaint.

 4

 5
         Dated: December 13, 2018                      DURIE TANGRI LLP
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 7
                                                 By:                     /s/ Ryan M. Kent
 8                                                                       RYAN M. KENT

 9                                                     Attorneys for Defendant
                                                       PINTEREST, INC.
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27    By way of example, the particular activity accused in the Claim Chart involves the use of “Buyable
     Pins” with “Promoted Video.” See Claim Chart and https://business.pinterest.com/en/blog/introducing-
28   promoted-video. Yet “Buyable Pins” had substantial uses without the “Promoted Video.”
                                                        10
                DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS; MEMORANDUM OF POINTS
                      AND AUTHORITIES IN SUPPORT THEREOF / CASE NO. 4:18-CV-05383-JSW
             Case 4:18-cv-05383-JSW Document 26 Filed 12/13/18 Page 16 of 16



 1                                       CERTIFICATE OF SERVICE

 2          I hereby certify that on December 13, 2018 the within document was filed with the Clerk of the
 3   Court using CM/ECF which will send notification of such filing to the attorneys of record in this case.
 4
                                                                       /s/ Ryan M. Kent
 5                                                                     RYAN M. KENT
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